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                                                U.S. Department of Justice

                                                United States Attorney
                                                Eastern District of Missouri

                                                Criminal Division
                                                Violent Crime Unit
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 Assistant United States Attorney               111 S. 10th Street, Rm. 20.333        FAX: 314-539-3887
                                                St. Louis, MO 63102               EMAIL: t.rea@usdoj.gov

                                            December 9, 2015

VIA ELECTRONIC MAIL AND
ELECTRONIC SERVICE
William Lucco
Christopher Threlkeld
Lucco, Brown, Threlkeld & Dawson LLP
224 Saint Louis Street
Post Office Box 539
Edwardsville, Illinois 62025

         In re: United States v. Anthony Jordan
                Cause No. 4:15 CR 404 HEA (NAB)

Messrs. Lucco and Threlkeld:

       In connection with your request to view the physical evidence in this case and as a
courtesy to you and your client, enclosed please find a listing of items and evidence obtained
during the course of this criminal investigation:

        EVENT                                                 ITEM(S)

Robert Parker and           Clara Walker’s inked prints (011)
Clara Walker
Murder Scene(s)

                            Robert Parker’s inked prints (012)

                            Digital Photographs (002, 010)

                            Ballistics (001): (1) .223 caliber, 6/Right Twist, Copper jacket; (18) "LC"
                            stamped, .223 caliber, Cartridge cases

                            Ballistics (003): (4) Lead core

                            Ballistics (008): (1) Lead core

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                    Robert Parker’s clothing (004, 006)

                    Clara Walker’s clothing (005, 007)

                    Robert Parker’s blood stain card (013)

                    Suspected drugs (009): One knotted plastic bag containing green
                    vegetation

                    (1) DVD media disk containing cell phone examinations (61423-1)

                    (1) CD-R containing surveillance footage (61423-2)

                    (1) CD-R containing surveillance footage (61423-3)

                    (3) property receipts, (1) tow slip, (4) DVDs (61423-19)


Michail Gridiron    Michael Gridiron’s inked prints (007)
Murder Scene

                    Digital Photographs (001, 009)

                    Ballistics (002): (26) "HORNADY" stamped .223 REM caliber cartridge
                    cases; (5) "HORNADY" stamped .223 REM caliber cartridge cases; (25)
                    "S&B" stamped 7.62x39mm caliber cartridge cases; (8) "S&B" stamped
                    7.62x39mm caliber cartridge cases

                    Ballistics (008): (1) .30 caliber, 4 / Right Twist, Steel Jacketed Bullet; (1)
                    Unknown Caliber, Unknown / Twist, Steel Jacket from a Bullet; (1)
                    Unknown Caliber, Unknown / Twist, Steel Jacket from a Bullet; (1)
                    Unknown Caliber, Unknown / Twist, Steel Jacket from a Bullet; (1)
                    Unknown Caliber, Unknown / Twist, Steel Jacket from a Bullet; (1)
                    Unknown Caliber, Unknown / Twist, Steel Jacket from a Bullet; (1)
                    Unknown Caliber, Unknown / Twist, Steel Jacket from a Bullet; (1) Lead
                    Core from a Bullet

                    Ballistics (013): (1) Unknown Caliber, Right / Twist Steel Jacket from a
                    Bullet; (1) Steel Fragment from a bullet; (1) Unknown Caliber, Right /
                    Twist Steel Jacket from a Bullet; (1) Lead Fragment; (1) Unknown Caliber,
                    Unknown / Twist Copper Jacket from a Bullet; (1) Lead Core from a
                    Bullet; (1) Copper Fragment from a Bullet; (1) Copper Fragment from a
                    Bullet; (1) Lead Fragment from a Bullet

                    Clarence Haines’s clothing (006)

                    Michail Gridiron’s clothing (010)


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                    Michail Gridiron’s fingernail clippings (012)

                    Michail Gridiron’s blood stain card (011)

                    DNA swab of Michail Gridiron’s clippings (012)

                    Suspected controlled drugs (003): One knotted plastic bag containing
                    ninety-nine capsules containing light tan powder; One knotted plastic bag
                    containing four white, oblong tablets marked "IP204"; One knotted plastic
                    bag containing white broken tablet pieces

                    Suspected controlled drugs (004): Four capsules (three containing tan
                    powder, one broken, containing residue)

                    Suspected controlled drugs (005): Two knotted plastic bags containing
                    green vegetation

                    1 CD containing results of 2 cell phones examinations (61891-1)

                    7 Officer statements, compact disc, photo line-up, photograph (61891-4)


Search Warrant,     Photographs
4217 Sacramento
Garage

                    (1) BMW vehicle

                    (1) Ford Mustang vehicle

                    (1) 7.62 live ammunition round and (23) .45 caliber live cartridges

                    (1) pair of brown gloves

                    (1) pair of brown gloves

                    (1) pair of brown gloves

                    (1) black hooded sweatshirt

                    (1) MapQuest directions showing a mapped route in St. Louis area

                    (1) red and green 5 gallon gas can

                    (1) black .45 caliber ammo magazine

                    (1) black rifle case

                                                                                              3
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                    (1) garage door opener remote

                    (1) black Infiniti vehicle manual

                    Numerous blue vinyl gloves

                    (3) yellow wash cloths

                    (1) beer can

                    (1) beer bottle


Consent Search,     (1) surefire flashlight
Ford Mustang

                    (1) black glove

                    (1) black winter glove

                    (1) LED red and blue emergency lights


Consent Search,     (1) Missouri License plate UD9-H7P
BMW



                    (1) Illinois License plate A693631

                    (1) Black ski mask

                    (1) blue rug

                    (1) black sweatshirt

                    (1) white back brace

                    (1) Pair eyeglasses

                    (1) Springfield Armory .40 caliber serial# US359953 with (1) magazine

                    (1) Bushmaster .223 Model XM15-E2S serial# BFI455226 with (2)
                    magazines and .223 cartridges

                    (1) Fabrique National Herstal PS90 caliber 5.7 (defaced) with (4)
                    magazines and 5.7 cartridges

                                                                                            4
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                    (1) “Starline 45 AUTO +P” head stamped shell casings


                    Cigarello remnant with charred material

                    Plastic bottle

                    Aluminum can

                    Bottle cap


Search Warrant,     (3) pieces of mail
4223 Sacramento

                    Weapon handle attachment and laser light

                    Box of Walgreens paper face masks

                    Black nylon bag

                    Human hair braids

                    (1) black pistol gun case

                    Firearm cases and weapons attachments ((1) S&W gun box (yellow); (1)
                    S&W gun box (blue); (1) F&N gun box; (1) Doska sport box; (1) AK hand
                    guard)

                    Electric bug detector

                    Firearm boxes ((2) Springfield Arms; (1) HK; (1) Sigarms; (1) Glock)

                    (1) Auto burst trigger

                    (5) handgun cases

                    (1) Holster

                    (1) AK-47 magazine

                    (1) firearm post for rifle

                    (2) soft gun cases

                    (1) holster


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                    (4) Soft weapons cases

                    Pair of brown gloves

                    Package of oil wipes in gray plastic bag

                    (1) bullet proof vest

                    Numerous house keys

                    House keys to 4217 Sacramento

                    Numerous photos

                    Numerous mail and personal papers

                    Pair of handcuffs

                    (3) empty ammunition magazines

                    Yellow Bosstitch crowbar

                    Blue Vaughn crowbar

                    Red five gallon gas can

                    (2) bullet check indicators

                    $4,469 in United States currency

                    IPod

                    Pepper spray

                    Miscellaneous paperwork

                    (1) case FNH 5.7x28mm with 16 individual ammo boxes

                    (1) box of .380 ammunition

                    (1) pistol magazine with 7 rounds of .380 ammo

                    (1) box .40 caliber ammo

                    (1) Remington 870 12 gauge shotgun serial# RS10854C loaded with 7
                    rounds

                    (1) Seekins Precision .223 serial# SP-C11027 loaded with numerous .223

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                    rounds

                    (1) Romarm GP-WASR 7.62x39 serial# HE404777

                    (1) Glock .50 caliber serial# CEP989US

                    (1) Glock 21 45 caliber serial# LGH956

                    (1) Glock .50 caliber serial# AHU185US

                    (1) Glock 20c 10mm serial# LAL922

                    (1) FNH 5-7 5.7 caliber serial# 386255928

                    (1) S&W 460 magnum serial# DAM4390

                    (1) Centarms-Canada MAK-90 7.62x39 serial# 8796

                    (1) Glock 20c 10mm serial# LAL906

                    (1) Springfield XD-9 9mm serial# MG895824

                    (13) mobile phone devices

                    Asset forfeiture receipt


Search Warrant,     (1) green rag
Infiniti

                    (1) Missouri license plate (MK2-S1E)

                    Ballistics evidence

                    Plastic bottle


Consent Search,     Digital Photographs
2009 Dodge Truck
and 4872 Carter

                    (1) BMW key

                    (1) Mustang key

                    (16) keys in brown leather pouch

                    (1) Dodge truck key

                                                                               7
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                    (1) Glock .45 caliber semi-auto serial# ADL748

                    (1) Rohm .22 caliber semi-auto serial# 1099861

                    Ballistics: (88) .22 caliber, (39) .45 caliber and (1) 9mm cartridges

                    (1) CD containing results of 1 cell phone examination

                    (3) Consent to search forms

                    (1) Saint Louis Metropolitan Police Department property receipt


Consent Search,     Photographs
Residence at
Fairgrove, Missouri

                    (1) KBI Charles Daly .45 semi-auto Serial# PL10970

                    (1) Stag Arms 5.56 caliber .223 rifle serial# 19432

                    (1) Norinko SKS Assault rifle serial# 11016123

                    (1) CAI Georgia Zastava Serbia 7.62 caliber rifle serial# M92PV032479

                    (1) Zastava Kragujevac 7.62 caliber rifle serial# AB2C102947

                    (1) Century International Arms 7.62 caliber rifle serial# M70AB15110

                    (1) Romania 7.62 caliber rifle serial# F0167175

                    (1) Norinko SKS 7.62 caliber rifle serial# 9306308

                    (1) Romarm 7.62 caliber rifle serial# 1980KX3262

                    (1) Norinco 7.62 caliber rifle serial# 301018

                    (1) Consent to Search form

                    (1) Property Receipt


Search Warrant,     Photographs
64 Brighton Park

                    Sig Sauer P-238, semi-auto Serial# DA011716 and magazine


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                    FNX-.45, semi-auto serial#FX361048698

                    Fabrique Nationale five-seven, semi-auto serial# 386276618 and magazine

                    Bryco Arms (Jennings Firearms) .25 auto serial#246110 and magazine

                    Springfield Armory XD, semi-auto, serial#US687577 and magazine

                    (1) Amazon kindle charging cable

                    Letter addressed to Anthony Jordan

                    Mailed letter with PO Box number

                    White Motorola tablet

                    ATT black, broken telephone

                    Nokia cellular telephone with broken screen

                    Samsung digital camera

                    Sony Digital camera

                    Various paperwork

                    Various credit cards from wallet

                    Wallet with identification cards

                    PO box key

                    Set of keys on key ring

                    .45 caliber magazine with bullets

                    FN magazine and 5.7mm bullets

                    .45 caliber FN magazine

                    Photograph

                    Sony cellular telephone

                    Kyrocera cellular telephone

                    Miscellaneous paperwork


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                     (2) holsters

                     X5L laser sight

                     .25 caliber magazine (empty)

                     .380 magazine and bullets


                     LG cellular telephone

                     GSI recording device/DVR

                     Sony computer, serial# 275249363000014

                     LG cellular telephone

                     Sony laptop charger


 Inventory Search,   Photographs
 Grand Cherokee

                     Black holster

                     Ice scraper

                     Cell phone chargers

                     CR2032 batteries (in packaging)

                     Plastic duster/cleaning device with (2) refill dusters

                     Shooting target poster entitled “Darkotic”

                     Grey, hooded sweatshirt

                     Plastic bins

                     Black and white bandana

                     Pen

                     Plastic ring shaped like a dollar sign

                     Shooter target with bullet holes in it

                     Sony audio recorder in packaging

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                    Brochure entitled System 6

                    Red funnel

                    Bottle of power steering fluid

                    Condom

                    Screwdriver

                    Phone adapter

                    CD Rom

                    Allen wrench

                    Black t-shirts

                    Packaged string cheese

                    Yellow sticky/post-it note with numbers/math written on it

                    Rolled up t-shirt

                    Vortex brand binoculars

                    Phone charger

                    Business card from Self Inflicted Studios

                    Pair of heart shaped glasses

                    CD Roms

                    Phone chargers (one within a Belkin brand box)

                    NRA hat

                    Multiple paperwork items in glovebox

                    St. Louis Community College parking pass

                    Business cards

                    Red shot glass

                    Wrench

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                      Flashlight

                      Light bulb

                      $11.30 in United States currency


 Search Warrant,      T-Mobile white Samsung Galaxy SIII phone, serial# R21D14M786P
 Pontiac Grand Prix

                      Gray Apple IPod

                      (1) black ski mask

                      (3) black t-shirts

                      Whirl newspaper

                      (1) pair black mechanic gloves

                      (2) black skull caps

                      (1) pair black gloves

                      Black bag

                      (1) 5.7 mm magazine (20 rounds)

                      (1) .45 caliber magazine (15) rounds

                      (1) 5.7 mm magazine (19) rounds

                      (2) Pro magazines

                      (1) speed loader

                      (1) bottle of Break Free

                      (4) batteries

                      (1) Viridian container

                      Shooting glasses

                      (1) business card “Klauser Construction”




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 Search Warrant,         (1) black facial mask
 Pontiac GTO

                         (1) pair black gloves

                         (1) holster

                         (2) .50 caliber rounds located in back seat

                         Vehicle registration

                         Hertz rental documents for Anthony Jordan circa 2007

                         PUR Performance receipt

                         Cabela’s receipt

                         Autozone receipt

                         Premier Truck receipt


 Search Warrant,         (1) .45 caliber magazine, loaded (13) rounds
 Silverado

                         (1) black glove

                         (1) FNH gun case

                         Sealed box of (5) 5.7mmx28mm ammunition


        This represents only a summary of items collected. Information relating to these items is

 more fully set forth in investigative reports which have been made available. Obviously, the

 United States may choose to use some, all, or none of the items listed above at trial. Likewise,

 should additional information and/or evidence become available, notice of such information or

 evidence will be timely provided to you.


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       Please do not hesitate to contact me if you have additional questions.

                                        Very truly yours,

                                        /s/ Thomas Rea

                                         THOMAS REA
                                Assistant United States Attorney

 cc:   Clerk, United States District Court




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